                   Case: 23-1664
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                                            APPEALS  1   Date
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                                                              THIRD 04/20/2023
                                                                      CIRCUIT

                                               No. 23-1664

                       Lujan Claimants                   vs.   Boy Scouts of America and Delaware BSA, LLC



                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Boy Scouts of America and Delaware BSA, LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)            ____ Appellant(s)                 ____ Intervenor(s)

         ____ Respondent(s)             ✔ Appellee(s)
                                       ____                              ____ Amicus Curiae

(Type or Print) Counsel’s Name Tori L. Remington
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                                              ____        ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL:                     /s/ Tori L. Remington

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REV. 10/20/2020
